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                                                         UNITED STATES BANKRUPTCY COURT
                                                                     FOR THE
                                              EASTERN DISTRICT OF NORTH CAROLINA - GREENVILLE DIVISION

 Fill in this information to identify your case:
 Debtor 1               Michael Pernell Foust
                              First Name            Middle Name          Last Name
 Debtor 2
 (Spouse, if filing)          First Name            Middle Name          Last Name
                                                                                                                      Check if this is an amended plan, and
                                                                                                                      list below the sections of the plan that
                                                                                                                      have been changed.

 Case number:                 19-02458-5-JNC
 (If known)




                                                                      CHAPTER 13 PLAN

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on this form does not indicate that
                           the option is appropriate in your circumstances. Plans that do not comply with Local Rules and judicial rulings may not be
                           confirmable. You must check each box that applies in §§ 1.1, 1.2, 1.3, and 1.4, below.

 1.1          A limit on the amount of a secured claim, including avoidance of mortgage liens, set               Included                   Not Included
              out in Sections 3.1 or 3.3, which may result in a secured claim being treated as only
              partially secured or wholly unsecured. This could result in the secured creditor
              receiving only partial payment, or no payment at all.
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                   Not Included
              set out in Section 3.5.
 1.3          Nonstandard provisions, set out in Part 9.                                                         Included                   Not Included


To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated if the plan is confirmed.
                           You should read this plan carefully and discuss it with your attorney if you have an attorney in this bankruptcy case. If you do
                           not have an attorney, you may wish to consult one. Neither the staff of the Bankruptcy Court nor the Chapter 13 Trustee
                           can give you legal advice.
                           The following matters may be of particular importance to you. Debtors must check one box on each line of §§ 1.1, 1.2, and 1.3,
                           above, to state whether or not the plan includes provisions related to each item listed. If an item is checked “Not Included,” or
                           if neither box is checked or both boxes are checked, the provision will not be effective, even if set out later in the plan.

                           Proof of Claim: A creditor’s claim will not be paid or allowed unless a proof of claim is timely filed by, or on behalf of, the
                           creditor. Only allowed claims will receive a distribution from the Trustee. Confirmation of a plan does not preclude the Debtor,
                           Trustee, or a party in interest from filing an objection to a claim. See generally, 11 U.S.C. §§ 501 and 502, and Bankruptcy Rules
                           3001, 3002, and 3002.1.

                           Pre-Confirmation Adequate Protection Payments: Pre-confirmation adequate protection payments required by 11 U.S.C. §
                           1326(a)(1) and Local Rule 3070-1(b) shall be disbursed by the Trustee in accordance with the Trustee’s customary distribution
                           process. A creditor will not receive pre-confirmation adequate protection payments unless and until a timely, properly
                           documented proof of claim is filed with the Bankruptcy Court.

                           Other Trustee Payments to Creditors: Unless otherwise ordered by the Court, creditors not entitled
                           to adequate protection payments will receive no disbursements from the Trustee until after the Plan
                           is confirmed, and all such payments shall be made in accordance with the Trustee’s customary
                           distribution process.

1.4 Information about the Debtor: Income and Applicable Commitment Period. (Check one.)
    The “current monthly income” of the Debtor, calculated pursuant to 11 U.S.C. § 101(10A) and then multiplied by 12, is:
       ABOVE the applicable state median income; the Debtor’s applicable commitment period is 60 months.

           BELOW the applicable state median income; the Debtor’s applicable commitment period is 36 months.


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 Debtor                Michael Pernell Foust                                                               Case number      19-02458-5-JNC

1.5 Projected Disposable Income and “Liquidation Test.”
    The projected disposable income of the Debtor, as referred to in 11 U.S.C. § 1325(b)(1)(B), is $ 0.00 per month. The amount referred to in
    11 U.S.C. § 1325(a)(4) that would be paid to holders of allowed unsecured claims if the estate of the Debtor were liquidated in a chapter 7
    bankruptcy case (known as the “liquidation test”) is estimated by the Debtor to be $ 0.00 . The “liquidation test” has been computed as
    indicated in E.D.N.C. Local Form 113B, Liquidation Worksheet & Plan Summary filed simultaneously with this plan.

1.6 Definitions: See attached Appendix.

 Part 2: Plan Payments and Length of Plan
2.1 The Debtor shall make regular payments to the Trustee as follows:
      $ 662.00 per Month for 60 months

      (Insert additional line(s), if needed.)

2.2 Regular payments to the Trustee will be made from future income in the following manner:
    (Check all that apply.)
            Debtor will make payments pursuant to a payroll deduction order.
            Debtor will make payments directly to the Trustee.

2.3 Additional payments. (Check one.)
          None. If “None” is checked, the rest of § 2.3 need not be completed or reproduced.

2.4 The total amount of estimated payments to the Trustee is $                          39,720.00    .

 Part 3: Treatment of Secured Claims
3.1 Residential Mortgage Claim(s) – When Residence to be Retained (Surrender addressed in § 3.6). (Check one.)
         None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

 Note: Avoidance of mortgage liens may not be accomplished in this district in the absence of the filing and proper service of a motion and
 notice of motion specifically seeking such relief and giving the affected creditor the opportunity to object and request a hearing.

              The Debtor proposes the following treatment of mortgage claims secured by the Debtor’s principal residence:

                                                                                                                                                                 Other
                                                                                                                   Tot. Arrears                                  Terms
 Creditor Name            Direct Amt./Mo.           Conduit Amt./Mo      Arrears Owed    + Adm. Arrears*       =                  Cure $/Mo.       Avoid            (Y/N)
                                                                                                                     to Cure*                       (Y/N)         (if Y, see
                                                                                                                                                                    Other,
                                                                                                                                                                   below)

 1st Atlantic                        $500.00                     $0.00           $0.00 $0.00                              $0.00         $0.00        N           $500.0
                                                                                                                                                                   0
Insert additional claims, as needed.
 Other. (Check all that apply, and explain.) The Debtor:
     (a)       does intend to seek a mortgage modification with respect to the following loan(s) listed above:
                     ; or
     (b)       does not intend to seek mortgage loan modification of any of the mortgage loans listed above; and
     (c)       intends to:

3.2 Secured Claims Other Than Residential Mortgage Claims – To be Paid Directly by Debtor.
    (Check one.)
         None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3 "Cram-Down" Claims - Request for Valuation of Collateral and Modification of Undersecured Claims. (Check one.)
        None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

  The remainder of this §3.3 will be effective only if there is a check in the box "Included" in Part 1, §1.1, of this plan, above.
Such Request for Valuation of Collateral and Modification of Undersecured Claims for Real Estate may not be accomplished in this
distraction the absence of the filing and proper service of a motion and notice of motion specifically seeking such relief and giving the
affected creditor the opportunity to objection the motion and request a hearing. Note that a separate motion must be brought if the
collateral is real estate, but not if the collateral is personal property.
           Pursuant to 11 U.S.C. § 506(a) and Local Rule 3012-1, the Debtor requests that the Court determine the
           value of the collateral securing each of the claims listed below. For each non-governmental secured claim
           listed below, the Debtor proposes to treat each claim as secured in the amount set out in the chart
           column headed “Est. Amt. of Secured Claim.” For secured claims of governmental units, unless otherwise
           ordered by the Court, the value of a secured claim listed in a proof of claim filed in accordance with the
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              Bankruptcy Rules controls over any contrary amount listed below. The value determined will be
              amortized and paid over the life of the Debtor’s plan to satisfy the secured portion of the claim. The
              portion of any allowed claim that exceeds the amount of the secured claim will be treated as an
              unsecured claim under Part 7 of this plan. If the amount of a creditor’s secured claim is listed below as
              having no value, the creditor’s allowed claim will be treated in its entirety as an unsecured claim under
              Part 7 of this plan. Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed
              on the proof of claim controls over any contrary amounts listed in this paragraph.


                                                                                                                                           AP Payment                 Equal Mo. Pmt.
                                Amount of                                                            Amt. of Claims                           [See                      To Creditor
                                                                                   Value of                               Est. Amt. of                        Int
    Creditor Name             Creditor's Total               Collateral                                 Senior to                           E.D.N.C.                       (See
                                                                                   Collateral                            Secured Claim                       (%)
                                  Claim                                                             Creditor's Claim*                      LBR 3070-                  Part 1, Notices
                                                                                                                                              1(c)]                    to Creditors)
 Wells Fargo               $5,857.00 2010 Toyota                                   $5,500.00                   $0.00        $5,500.00          $0.00 7.50%                     $127.68
 Dealer                              Corolla 195,000
 Services                            miles
                                     Value based on
                                     NADA clean
                                     retail value
Insert additional claims, as needed.

3.4 Secured Claims not Subject to Valuation of Collateral — Monthly Payment to be Disbursed by Trustee. (Check one.)
         None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
         The secured claims listed below are not subject to valuation under 11 U.S.C. § 506(a). These claims include, but are not limited to,
         claims: (a) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
         acquired for the personal use of the Debtor, or (b) incurred within 1 year of the petition date and secured by a purchase money security
         interest in any other thing of value; and (c) any other secured claim the Debtor proposes to pay in full. These claims will be paid in full,
         through the chapter 13 plan disbursements, with interest at the rate stated below. Unless otherwise ordered by the Court, the claim amount
         stated on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below.
         In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling.

                                                                                                          AP Payment                                         Est. Mo.
                                                                                                                                                                                Equal
                                                                      Value of           Amount of       [See E.D.N.C.    Current Mo.           Int            Pmt.
      Creditor Name                       Collateral                                                                                                                             Mo.
                                                                      Collateral          Claim           LBR 3070-        Payment             (%)         Disbursed by
                                                                                                                                                                                 Pmt.
                                                                                                              1(c)]                                          Trustee
 Leonard                       12 x 20 Utility                             $500.00         $400.00             $0.00               $9.29      7.50%                 $9.29        $9.29
 Aluminum Utility              Building
 Buildings
 Mariner Finance               2002 GMC Sierra                            $5,725.00      $4,090.00             $0.00             $94.95       7.50%             $94.95 $94.95
                               3500 195,000 miles
                               Value based on
                               NADA clean retail
                               value
 OneMain                       2006 Chevrolet                         $10,850.00         $9,766.00             $0.00            $226.71       7.50%           $226.71 $226.7
 Financial                     Silverado 2500                                                                                                                              1
                               240,000 miles
                               Value based on
                               NADA clean retail
                               value
 State of North                Properties located                     $56,757.60         $6,676.08             $0.00             $30.12       7.50%             $30.12 $30.12
 Carolina                      at 414 Ford St.,
                               Greenville, NC
                               27834, 411 Ford St.,
                               Greenville, NC
                               27834; 1209 W.
                               Fourth St.,
                               Greenville, NC
                               27834
 State of North                Properties located                     $56,757.60                $50.00         $0.00               $1.16      7.50%                 $1.16        $1.16
 Carolina                      at 414 Ford St.,
                               Greenville, NC
                               27834, 411 Ford St.,
                               Greenville, NC

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                                                                                                AP Payment                                    Est. Mo.
                                                                                                                                                                Equal
                                                                     Value of     Amount of    [See E.D.N.C.     Current Mo.       Int          Pmt.
      Creditor Name                       Collateral                                                                                                             Mo.
                                                                     Collateral    Claim        LBR 3070-         Payment         (%)       Disbursed by
                                                                                                                                                                 Pmt.
                                                                                                    1(c)]                                     Trustee
                       27834; 1209 W.
                       Fourth St.,
                       Greenville, NC
                       27834
 State of North        Properties located                            $56,757.60   $1,735.50          $0.00              $40.29    7.50%          $40.29 $40.29
 Carolina              at 414 Ford St.,
                       Greenville, NC
                       27834, 411 Ford St.,
                       Greenville, NC
                       27834; 1209 W.
                       Fourth St.,
                       Greenville, NC
                       27834
 State of North        Properties located                            $56,757.60   $1,825.61          $0.00              $42.38    7.50%          $42.38 $42.38
 Carolina              at 414 Ford St.,
                       Greenville, NC
                       27834, 411 Ford St.,
                       Greenville, NC
                       27834; 1209 W.
                       Fourth St.,
                       Greenville, NC
                       27834
 State of North        Properties located                            $56,757.60     $892.45          $0.00              $20.72    7.50%          $20.72 $20.72
 Carolina              at 414 Ford St.,
                       Greenville, NC
                       27834, 411 Ford St.,
                       Greenville, NC
                       27834; 1209 W.
                       Fourth St.,
                       Greenville, NC
                       27834
 State of North        Properties located                            $56,757.60     $956.48          $0.00              $22.20    7.50%          $22.20 $22.20
 Carolina              at 414 Ford St.,
                       Greenville, NC
                       27834, 411 Ford St.,
                       Greenville, NC
                       27834; 1209 W.
                       Fourth St.,
                       Greenville, NC
                       27834
Insert additional claims, as needed.

3.5 Avoidance of Judicial Liens or Nonpossessory, Nonpurchase-Money Security Interests. (Check one.)
           None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
  The remainder of this Section 3.5 will be effective only if there is a check in the box “Included” in Part 1, § 1.2, of this plan, above.
 Such lien avoidance may not be accomplished in this district in the absence of the filing and proper service of a motion and notice of motion
 specifically seeking such relief and giving the affected creditor the opportunity to object to the motion and request a hearing.
           The Debtor intends to file a motion pursuant to 11 U.S.C. § 522(f) seeking avoidance of each judicial lien
           (“JL”) or nonpossessory, non-purchase-money security interest (“NPMSI”) listed below. To the extent the
           lien is avoided, any allowed claim of the creditor will be treated as an unsecured claim under Part 7 of
           this plan.

                                                                                    Type of Lien
                                                                                                       Total Claim
              Creditor Name                            Property Subject to Lien     ("NPMSI" or                         Int. %       Secured             Unsecured
                                                                                                         Amount
                                                                                       "JL")
 Pitt County Tax Collector                     Properties located at 414                                 $3,227.72        0.00%      $3,227.72                  $0.00
                                               Ford St., Greenville, NC
                                               27834, 411 Ford St.,
                                               Greenville, NC 27834; 1209
                                               W. Fourth St., Greenville,

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                                                                                   Type of Lien
                                                                                                   Total Claim
              Creditor Name                            Property Subject to Lien    ("NPMSI" or                      Int. %     Secured            Unsecured
                                                                                                     Amount
                                                                                      "JL")
                                   NC 27834
 Rider Insurance Services,         Properties located at 414                                        $45,911.02       0.00%    $45,911.02                 $0.00
 LLC                               Ford St., Greenville, NC
                                   27834, 411 Ford St.,
                                   Greenville, NC 27834; 1209
                                   W. Fourth St., Greenville,
                                   NC 27834
 State of North Carolina           Properties located at 414                                            $4,020.42    0.00%     $4,020.42                 $0.00
                                   Ford St., Greenville, NC
                                   27834, 411 Ford St.,
                                   Greenville, NC 27834; 1209
                                   W. Fourth St., Greenville,
                                   NC 27834
Insert additional claims, as needed.

3.6 Surrender of Collateral. (Check one.)
         None. If “None” is checked, the rest of § 3.6 need not be completed or reproduced.

 Part 4: Treatment of Fees and Priority Claims
4.1 General Treatment: Unless otherwise indicated in Part 9, Nonstandard Plan Provisions, Trustee’s commissions and all allowed priority
     claims, including arrearage claims on domestic support obligations, will be paid in full without interest through Trustee disbursements under the
     plan.

4.2 Trustee’s Fees: Trustee’s fees are governed by statute and orders entered by the Court and may change during the course of the case. The
    Trustee’s fees are estimated to be 6.00 % of amounts disbursed by the Trustee under the plan and are estimated to total $ 2,248.20                        .

4.3 Debtor’s Attorney’s Fees. (Check one, below, as appropriate.)
         None, because I filed my case without the assistance of an attorney and am not represented by an
         attorney in this case. If “None” is checked, the rest of § 4.3 need not be completed or reproduced.

                                                                                    [OR]

              Debtor’s Attorney’s Fees Requested or to be Requested, Paid Prior to Filing, and to be Paid through
              the Plan (and check one of the following, as appropriate).
                   Except to the extent that a higher amount is allowed by the Court upon timely application, or a lower amount is agreed to by the
                   attorney, the Debtor’s attorney has agreed to accept the “standard base fee,” as described in Local Rule 2016-1(a)(2), for services
                   reasonably necessary to represent the Debtor before the Court through the earlier of confirmation of the Debtor’s plan or the first 12
                   months after this case was filed. The amount of compensation requested does not exceed the allowable “standard base fee” as set
                   forth in § 2016-1(a)(1) of the Administrative Guide.
                   The total amount of compensation requested is $ 5,000.00 , of which $ 400.00 was paid prior to filing. The Debtor’s
                   attorney requests that the balance of $ 4,600.00 be paid through the plan.

                                                                                    [OR]

                     The Debtor’s attorney intends to apply or has applied to the Court for compensation for services on a “time and expense” basis, as
                     provided in Local Rule 2016-1(a)(7). The attorney estimates that the total amount of compensation that will be sought is $     , of
                     which $      was paid prior to filing. The Debtor’s attorney requests that the estimated balance of $     be paid through the plan.

4.4 Domestic Support Obligations. (Check all that apply.)

              None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced. +1


4.5 Other Priority Claims. (Check one.)
            None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
            All other allowed claims that are entitled to priority, listed below, shall be paid in full by Trustee
            disbursements under, and over the life of the chapter 13 plan, unless the claimant agrees to a different
            treatment or the Court orders otherwise:

                             Creditor Name                                                 Claim for:                           Est. Claim Amt.

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                     Creditor Name                                        Claim for:                                         Est. Claim Amt.
  City of Greenville Red Light Safety                    Taxes and certain other debts                              200.00
  Internal Revenue Service                               Taxes and certain other debts                              0.00
  NC Department of Revenue                               Taxes and certain other debts                              0.00
  Pitt County Tax Collector                              Taxes and certain other debts                              0.00
     Insert additional claims, as necessary.
 The Debtor estimates that TOTAL unsecured priority claims equal:                                                  $200.00

 Part 5: Executory Contracts and Unexpired Leases
5.1 (Check one.)
         None. If “None” is checked, the rest of Part 5 need not be completed or reproduced.



 Part 6: Co-Debtor and Other Specially Classified Unsecured Claims
6.1 (Check one.)
         None. If “None” is checked, the rest of Part 6 need not be completed or reproduced.

 Part 7: Unsecured Non-priority Claims
7.1 General Treatment. After confirmation of a plan, holders of allowed, non-priority unsecured claims that are not specially classified in § 6.1,
     above, will receive a pro rata distribution with other holders of allowed, nonpriority unsecured claims to the extent funds are available after
     payment to the holders of allowed secured, arrearage, unsecured priority, administrative, specially classified unsecured claims, and the Trustee’s
     fees. Holders of allowed, non-priority unsecured claims may not receive any distribution until all claims of higher payment priority under the
     Bankruptcy Code have first been paid in full.

 Part 8: Miscellaneous Provisions
8.1 Non-Disclosure of Personal Information: Pursuant to N.C. Gen. Stat. § 76-66 and other applicable state and federal laws, the Debtor objects to
     the disclosure of any personal information by any party, including without limitation, all creditors listed in the schedules filed in this case.

8.2 Lien Retention: Holders of allowed secured claims shall retain the liens securing their secured claims to the extent provided by 11 U.S.C. §
    1325(a)(5).

8.3 Retention of Consumer Rights Causes of Action: Confirmation of this plan shall constitute a finding that the Debtor does not waive, release,
    or discharge, but rather retains and reserves, for the benefit of the Debtor and the chapter 13 estate, any and all pre-petition and post-petition
    claims the Debtor could or might assert against any party or entity arising under or otherwise related to any state or federal consumer statute, or
    under state or federal common law, including, but not limited to, claims related to fraud, misrepresentation, breach of contract, unfair and
    deceptive acts and practices, Retail Installment Sales Act violations, Truth in Lending violations, Home Equity Protection Act violations, Real
    Estate Settlement Procedures Act violations, Fair Debt Collection Practices Act violations, Fair Credit Reporting Act violations, Equal Credit
    Opportunity Act violations, Fair Credit Billing Act violations, Consumer Lending Act violations, Federal Garnishment Act violations,
    Electronic Funds Transfer Act violations, and any and all violations arising out of rights or claims provided for under Title 11 of the United
    States Code, by the Federal Rules of Bankruptcy Procedure, or by the Local Rules of the Bankruptcy Court for the Eastern District of North
    Carolina.

8.4 Vesting of Property of the Bankruptcy Estate:
    (Check one.)
    Property of the estate will vest in the Debtor upon:
         plan confirmation.
         discharge
         other:

8.5 Possession and Use of Property of the Bankruptcy Estate: Except as otherwise provided or ordered by the Court, regardless of when property
    of the estate vests in the Debtor, property not surrendered or delivered to the Trustee (such as payments made to the Trustee under the Plan)
    shall remain in the possession and control of the Debtor, and the Trustee shall have no liability arising out of, from, or related to such property
    or its retention or use by the Debtor. The Debtor’s use of property remains subject to the requirements of 11 U.S.C. § 363, all other provisions of
    the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

8.6 Creditor Notices When Debtor to Make Direct Payments: Subject to Local Rule 4001-2, secured creditors, lessors, and parties to executory
    contracts that will be paid directly by the Debtor may, but are not required to, send standard payment notices to the Debtor without violating the
    automatic stay.

8.7 Rights of the Debtor and Trustee to Avoid Liens and Recover Transfers: Confirmation of the plan shall not prejudice any rights the Trustee
    or Debtor may have to bring actions to avoid liens, or to avoid and recover transfers, under applicable law.

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8.8 Rights of the Debtor and Trustee to Object to Claims: Confirmation of the plan shall not prejudice the right of the Debtor or Trustee to
    object to any claim.

8.9 Discharge: Subject to the requirements, conditions, and limitations set forth in 11 U.S.C. § 1328, and unless the Court approves a written
    Waiver of Discharge executed by the Debtor, the Court shall, as soon as practicable after completion by the Debtor of all payments under the
    plan, grant the Debtor a discharge of all debts that are provided for by the plan or that are disallowed under 11 U.S.C. § 502.

 Part 9:      Nonstandard Plan Provisions

9.1 Check "None" or List Nonstandard Plan Provisions.

                          None. If “None” is checked, the rest of Part 9 need not be completed or reproduced.

                                 No additional plan provisions may follow this line or precede Part 10: Signature(s), which follows;
                                         Appendix – Definitions, referenced in § 1.6, above, is attached after Signature(s).


 Part 10: Signatures

10.1       Signatures of Debtor(s) and Debtor(s)' Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for
Debtor(s), if any, must sign below.

 X     /s/Michael Pernell Foust                                                X
       Michael Pernell Foust                                                        Signature of Debtor 2
       Signature of Debtor 1

       Executed on            June 25, 2019                                         Executed on


By signing and filing this document, the Debtor(s) certify that the wording and order of the provisions in this Chapter 13 plan are identical
to those contained in E.D.N.C. Local Form 113, other than any nonstandard provisions included in Part 9.

 X     /s/Richard L. Cannon, III                                      Date June 25, 2019
       Richard L. Cannon, III                                                          MM/DD/YYYY
       Signature of Attorney for Debtor(s)
If this document is also signed and filed by an Attorney for Debtor(s), the Attorney also certifies, that the wording and order of the
provisions in this Chapter 13 plan are identical to those contained in E.D.N.C. Local Form 113, other than any nonstandard provisions
included in Part 9.




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APPENDIX: Definitions.
The following definitions are applicable to this Plan.
 “AP Amt.”                            The amount the Debtor proposes to pay per month as pre-confirmation “adequate protection” payments in
                                      accordance with 11 U.S.C. § 1326(a)(1)(C) and Local Rule 3070-1(c).
 “Administrative Guide”               The Administrative Guide to Practice and Procedure, a supplement to the Local Rules, which facilitates
                                      changes in practice and procedure before the Court without the necessity for revision to the Local Rules. The
                                      Administrative Guide may be found at the following Internet URL:
                                      http://www.nceb.uscourts.gov/sites/nceb/files/AdminGuide.pdf. As used herein, the term refers to The
                                      Administrative Guide in effect as of the date of the filing of the debtor’s petition.
 “Applicable Commitment Period” The mandated length of a Debtor’s plan. Debtors whose annual median income is above the applicable state
                                      median income, must propose 60-month plans, and below median income debtors are not required to propose
                                      a repayment plan longer than 36 months. Either may propose a shorter plan only if the plan will repay 100%
                                      of all allowed claims in full in less than the “applicable commitment period.” Below median income debtors
                                      may propose a plan longer than 36 months, but not longer than 60 months, if the Court finds cause to allow a
                                      plan longer than 36 months. See § 1.4, above.
 “Arrears”                            The total monetary amount necessary to cure all pre-petition defaults.
 “Avoid”                              The Debtor intends to avoid the lien of a creditor in accordance with 11 U.S.C. § 506(d) and In re Kidd, 161
                                      B.R. 769 (Bankr. E.D.N.C. 1993).
 “Bankruptcy Rules”                   The Federal Rules of Bankruptcy Procedure.
 “Claim” or “Claim Amount”            The estimated amount of the creditor’s claim against the Debtor. Absent a sustained objection to claim, the
                                      total amount listed by a creditor as being owed on its timely filed proof of claim shall control over any
                                      amount listed by the Debtor in this plan.
 ”Collateral”                         Description of the real property or personal property securing each secured creditors’ claim.
 “Conduit”                            The regular monthly mortgage payment that is to be made by the Trustee when a mortgage claim is proposed
                                      or required to be paid through the plan disbursements. (See Local Rule 3070-2). The number of monthly
                                      “conduit” payments to be made by the Trustee will be equal to the number of monthly payments proposed
                                      under the plan.
 “Court”                              The United States Bankruptcy Court for the Eastern District of North Carolina.
 “Cram Down”                          The Debtor intends that the amount to be paid in satisfaction of a secured claim be determined by determining
                                      the “value“ of the secured creditor’s “collateral,” or what the “collateral” is worth, under 11 U.S.C. §506(a)
                                      [which the Debtor asserts is the amount shown in § 3.3, under the chart column headed, “Value of
                                      Collateral”], and amortizing and paying such “value” at the interest rate proposed in the chart column headed,
                                      “Int. (%),” over the life of the Debtor’s plan. Any remainder of the creditor’s total “claim amount” is allowed
                                      and treated as an unsecured claim. See §§ 1.1, 3.3, and 7.1.
 “Cure”                               Whether the Debtor intends to pay the amount in “arrears” on any claim. With respect to a mortgage claim
                                      secured by the Debtor’s principal residence, if the Debtor proposes a cure through mortgage loan
                                      modification, such intention is indicated in § 3.1. Otherwise, mortgage “arrears” will be cured through the
                                      chapter 13 plan disbursements unless the Debtor indicates a different method to cure under § 3.1. With respect
                                      to other secured claims being paid directly by the debtor or an unexpired lease or executory contract that the
                                      Debtor proposes to assume, if the debtor intends to cure “arrears,” these “arrears” will be cured through the
                                      Trustee’s disbursements under a confirmed chapter 13 plan unless the Debtor indicates otherwise in § 3.2.
                                      With respect to “arrears” owed on a Domestic Support Obligation [defined in 11 U.S.C. § 101(14A) and
                                      addressed in § 4.4, below], these “arrears” will be cured through the Trustee’s disbursements under and by the
                                      end of the confirmed plan.
 “Debtor”                             The individual or the married couple who filed this bankruptcy case, whose name or names are found at the
                                      top of the first page of this chapter 13 plan. The term “Debtor” as used in this plan includes both debtors if this
                                      case was filed by a married couple.
 “Direct”                             The Debtor proposes to make all post-petition payments on the obligation directly, after the timely filing of a
                                      claim by or for the creditor. Disbursements to creditors secured by a lien on the Debtor’s principal residence
                                      are subject to the provisions of Local Rule 3070-2.
 “Local Rules”                        The Local Rules of Practice and Procedure of the United States Bankruptcy Court for the Eastern District of
                                      North Carolina, which may be found at the following Internet URL:
                                      http://www.nceb.uscourts.gov/sites/nceb/files/local-rules.pdf.
 “Interest” or “Int.”                 The interest rate, if any, at which the Debtor proposes to amortize and pay a claim. In the case of an
                                      “arrearage” claim, unless the plan specifically provides otherwise, the Debtor proposes to pay 0% interest on
                                      the portion of any claim that is in arrears.




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 “Monthly Payment” or “Mo. Pmt.”                                                 If paid through the Trustee’s disbursements under a confirmed chapter
                                                                                 13 plan, the estimated amount of the monthly payment proposed to be
                                                                                 made to the creditor. If used in reference to a Current Monthly Payment,
                                                                                 the current monthly installment payment due from the Debtor to the
                                                                                 creditor under the contract between the parties, including escrow
                                                                                 amount, if any. If used with reference to an obligation that the Debtor
                                                                                 proposes to pay directly to a creditor, the amount the Debtor shall
                                                                                 continue paying each month pursuant to the contract between the Debtor
                                                                                 and the creditor.
 “Other”                                                                         The Debtor intends to make alternative or additional provisions
                                                                                         regarding the proposed treatment of a claim, including the
                                                                                         intention of the Debtor to pursue a mortgage modification.
 “Other Secured Claims”                                                          Any claim owed by the Debtor that is secured by property other than the
                                                                                         Debtor’s principal residence.
 “§” or “§§”                                                                     This symbol refers to the numbered Section or Sections (if two are used)
                                                                                         of the plan indicated next to the symbol or symbols; the Section
                                                                                         numbers are found to the left of the part of the plan to which they
                                                                                         refer.
 “Surrender” or “Surr.”                                                          The Debtor intends to surrender the “Collateral” to the secured
                                                                                         creditor(s) upon confirmation of the plan. Surrender of residential
                                                                                         real property is addressed in § 3.1, and surrender of other
                                                                                         “Collateral” is addressed in § 3.6.
 “Trustee”                                                                       The chapter 13 standing trustee appointed by the Court to administer the
                                                                                         Debtor’s case.
 “Value”                                                                         What the Debtor asserts is the market value of a secured creditor’s
                                                                                         “collateral,” as determined under 11 U.S.C. § 506(a), and,
                                                                                         therefore, the principal amount that must be amortized at the
                                                                                         interest rate proposed and paid in full over the life of the
                                                                                         Debtor’s plan to satisfy in full the secured portion of a creditor’s
                                                                                         claim, consistent with the requirements of 11 U.S.C.
                                                                                         §§1325(a)(5) and 1328.




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